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Federal Defenders Southern District
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OF NEW YORK, INC. Tel: (212) 417-8700 Fax: (212) 571-0392
David E. Patton Southern District of New York
Executive Director Jennifer L. Brown

Attomey-in-Charge

October 16, 2020

VIA FACSIMILE
The Honorable Judge George B. Daniels

United States District Judge
Southern District of New York
500 Pearl Street

New York, New York 10007

Re: United States v. Sandra Maria De Oliveira Lindo
18 Cr. 782 (GBD)

Honorable Judge Daniels:

I write with the consent of the Government to respectfully request that the Court
extend the deadline for securing the Pembroke, Georgia property for Ms. Lindo’s bond until
Friday, November 16, 2020.

On October 7, 2020, Magistrate Judge Barbara C. Moses released Ms. Lindo on her
own signature and imposed bail conditions, including: a $300,000 personal recognizance
bond, cosigned by two financially responsible persons, secured by her son’s home in
Pembroke, GA; travel restricted to SDNY/EDNY/N.D.Ga/S.D.Ga; surrender of all travel
documents and no new applications; pretrial supervision as directed by Pretrial Services. Ms.
Lindo’s bail conditions were to be met by Wednesday, October 21, 2020. Since her release,
Ms. Lindo has been compliant with her bail conditions and has reported to Pretrial as
directed.

We respectfully ask for three more weeks to secure Ms. Lindo’s son’s property to the
bond. The county in Georgia where the property is located requires that the Confession of
Judgment needed to secure the property have “wet signatures” from the parties— here, the
Government in New York and Ms. Lindo’s son in Georgia. Additional time is therefore
needed to secure wet signatures from both parties on the same original document. All other
conditions have been met. The Government consents to this request.

Thank you for your consideration of this matter.

Respectfully submitted,

/s/

Zawadi Baharanyi
Assistant Federal Defender
(212) 417- a

SO ORDERED:
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GFORACLE GEORGE B. DANIELS
vu Ces STATES DISTRICT JUDGE

 

cc: AUSA Stephanie Lake (by e-mail)

 

 

 
